                 Case
                 Case 2:20-cv-00574-JCM-NJK
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

BELLA VISTA LLC, A NEVADA LIMITED COMPANY                                )
  LIABILITY, GREENFIELD & COMPANY INC., A                                )
         NEVADA CORPORATION, et. al.                                     )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No. 2:20-cv-00574
                                                                         )
 THE PEOPLE’S REPUBLIC OF CHINA; NATIONAL                                )
  HEALTH COMMISSION OF THE REPUBLIC OF                                   )
               CHINA, et, al.                                            )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE PEOPLE’S REPUBLIC OF CHINA




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert T. Eglet, Esq.
                                           EGLET ADAMS
                                           400 S. 7th St., 4th Floor
                                           Las Vegas, NV 89101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk

          3/24/2020
                   Case
                   Case 2:20-cv-00574-JCM-NJK
                        2:20-cv-00574-JCM-NJK Document
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                                                                 03/23/20 Page
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-00574

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case
                 Case 2:20-cv-00574-JCM-NJK
                      2:20-cv-00574-JCM-NJK Document
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                                                                         Page3 1ofof122

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

BELLA VISTA LLC, A NEVADA LIMITED COMPANY                                )
  LIABILITY, GREENFIELD & COMPANY INC., A                                )
         NEVADA CORPORATION, et. al.                                     )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No. 2:20-cv-00574
                                                                         )
 THE PEOPLE’S REPUBLIC OF CHINA; NATIONAL                                )
  HEALTH COMMISSION OF THE REPUBLIC OF                                   )
               CHINA, et, al.                                            )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MINISTRY OF COMMUNITY AFFAIRS OF THE PEOPLE’S REPUBLIC OF CHINA




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert T. Eglet, Esq.
                                           EGLET ADAMS
                                           400 S. 7th St., 4th Floor
                                           Las Vegas, NV 89101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk

        3/24/2020
                   Case
                   Case 2:20-cv-00574-JCM-NJK
                        2:20-cv-00574-JCM-NJK Document
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                                                                 03/23/20 Page
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-00574

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case
                 Case 2:20-cv-00574-JCM-NJK
                      2:20-cv-00574-JCM-NJK Document
                                            Document 1-3
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

BELLA VISTA LLC, A NEVADA LIMITED COMPANY                                )
  LIABILITY, GREENFIELD & COMPANY INC., A                                )
         NEVADA CORPORATION, et. al.                                     )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No. 2:20-cv-00574
                                                                         )
 THE PEOPLE’S REPUBLIC OF CHINA; NATIONAL                                )
  HEALTH COMMISSION OF THE REPUBLIC OF                                   )
               CHINA, et, al.                                            )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MINISTRY OF EMERGENCY MANAGEMENT OF THE PEOPLE’S REPUBLIC OF
                                           CHINA




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert T. Eglet, Esq.
                                           EGLET ADAMS
                                           400 S. 7th St., 4th Floor
                                           Las Vegas, NV 89101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk


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                   Case
                   Case 2:20-cv-00574-JCM-NJK
                        2:20-cv-00574-JCM-NJK Document
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-00574

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case
                 Case 2:20-cv-00574-JCM-NJK
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

BELLA VISTA LLC, A NEVADA LIMITED COMPANY                                )
  LIABILITY, GREENFIELD & COMPANY INC., A                                )
         NEVADA CORPORATION, et. al.                                     )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No. 2:20-cv-00574
                                                                         )
 THE PEOPLE’S REPUBLIC OF CHINA; NATIONAL                                )
  HEALTH COMMISSION OF THE REPUBLIC OF                                   )
               CHINA, et, al.                                            )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NATIONAL HEALTH COMMISSION OF THE REPUBLIC OF CHINA




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert T. Eglet, Esq.
                                           EGLET ADAMS
                                           400 S. 7th St., 4th Floor
                                           Las Vegas, NV 89101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk


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                   Case 2:20-cv-00574-JCM-NJK
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-00574

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

BELLA VISTA LLC, A NEVADA LIMITED COMPANY                                )
  LIABILITY, GREENFIELD & COMPANY INC., A                                )
         NEVADA CORPORATION, et. al.                                     )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No. 2:20-cv-00574
                                                                         )
 THE PEOPLE’S REPUBLIC OF CHINA; NATIONAL                                )
  HEALTH COMMISSION OF THE REPUBLIC OF                                   )
               CHINA, et, al.                                            )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE PEOPLE’S GOVERNMENT OF HUBEI PROVINCE




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert T. Eglet, Esq.
                                           EGLET ADAMS
                                           400 S. 7th St., 4th Floor
                                           Las Vegas, NV 89101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk

     3/24/2020
                   Case
                   Case 2:20-cv-00574-JCM-NJK
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-00574

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case
                 Case 2:20-cv-00574-JCM-NJK
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

BELLA VISTA LLC, A NEVADA LIMITED COMPANY                                )
  LIABILITY, GREENFIELD & COMPANY INC., A                                )
         NEVADA CORPORATION, et. al.                                     )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No. 2:20-cv-00574
                                                                         )
 THE PEOPLE’S REPUBLIC OF CHINA; NATIONAL                                )
  HEALTH COMMISSION OF THE REPUBLIC OF                                   )
               CHINA, et, al.                                            )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE PEOPLE’S GOVERNMENT OF THE CITY OF WUHAN, CHINA




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert T. Eglet, Esq.
                                           EGLET ADAMS
                                           400 S. 7th St., 4th Floor
                                           Las Vegas, NV 89101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk


   3/24/2020
                   Case
                   Case 2:20-cv-00574-JCM-NJK
                        2:20-cv-00574-JCM-NJK Document
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-00574

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
